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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 22-cr-00426-JSC-1
                                                          Plaintiff,
                                   8
                                                                                            ORDER FOLLOWING FINAL
                                                     v.                                     PRETRIAL CONFERENCE
                                   9

                                  10     DAVID WAYNE DEPAPE,
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The Court held a final pretrial conference in advance of the November 6, 2023 jury

                                  14   selection. Certain jurors were excused on account of hardship and bias, as agreed to by the

                                  15   parties and the Court. In addition, it was decided the Court will seat a jury of 12 jurors and 3

                                  16   alternates.

                                  17           The Government shall provide Defendant of the names of witnesses it intends to call on

                                  18   November 9, 2023 by noon on November 8, 2023. It will provide Defendant with the names of

                                  19   witnesses it intends to call on November 13, 2023 by 5:00 p.m. on November 9, 2023.

                                  20   Thereafter the Government will provide Defendant with the names of witnesses to be called by

                                  21   5:00 p.m. the previous business day.

                                  22   Dated: November 3, 2023

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                                                                                                    JACQUELINE
                                                                                                      CQQUELINE   E SCOTT CORLE
                                                                                                                             CORLEY
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                                  25                                                                United States District Judge
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